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                EXHIBIT C
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                                                                                         US010845044B2

( 12 ) United  States Patent
       Gammons et al .
                                                                       ( 10 ) Patent No.: US 10,845,044 B2
                                                                       (45) Date of Patent :  * Nov. 24 , 2020
( 54 ) LIGHTING SYSTEM AND CONTROL                                ( 58 ) Field of Classification Search
      THEREOF                                                               CPC .. H05B 37/02 ; H05B 37/0272 ; H05B 37/029 ;
                                                                                                H05B 37/0281 ; H05B 33/08 ; H05B
( 71 ) Applicant: Rotolight Limited , London ( GB )                                             33/0842 , F21V 23/00 ; F21V 23/003
                                                                            See application file for complete search history.
( 72 ) Inventors : Roderick Allen Gammons , Staines
                   Upon Thames ( GB ) ; Andrew Francis ,          ( 56 )                   References Cited
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( 73 ) Assignee : Rotolight Limited , Iver Heath (GB )                                           ( Continued )
( * ) Notice: Subject to any disclaimer, the term of this                       FOREIGN PATENT DOCUMENTS
                  patent is extended or adjusted under 35
                  U.S.C. 154 ( b ) by 0 days.                     CN               202841602              3/2013
                                                                  CN               103090238              5/2013
                  This patent is subject to a terminal dis
                   claimer.                                                                      ( Continued )
( 21 ) Appl. No .: 15 /481,460                                                       OTHER PUBLICATIONS
( 22 ) Filed :     Apr. 7, 2017                                   Official Action dated Apr. 10 , 2018 From the US Patent and
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( 65 )                Prior Publication Data                                                     (Continued )
      US 2017/0343197 A1           Nov. 30 , 2017                 Primary Examiner             Thai Pham

              Related U.S. Application Data                       ( 57 )                        ABSTRACT
( 60 ) Provisional application No. 62 / 319,809, filed on Apr.    The present invention relates to a method for controlling a
      8 , 2016 .                                                  lighting device to produce user customisable lighting effects,
                                                                  the method comprising: calculating a time varying lighting
( 30 )            Foreign Application Priority Data               value based on at least one simulation parameter; and
                                                                  outputting said time varying lighting value thereby to simu
   Apr. 20 , 2016 ( GB )                         1606907.2        late a lighting effect. The invention also relates to a con
                                                                  troller for controlling a lighting device to produce a lighting
( 51 ) Int . CI .                                                 effect, the controller comprising: a calculating device
       F21V 23/00              ( 2015.01 )                        adapted to calculate a time varying lighting value based on
      H05B 37/02               ( 2006.01 )                        at least one simulation parameter; and an output adapted to
                         ( Continued )                            control a lighting device according to the determined varia
(52) U.S. Cl.                                                     tion of lighting over time . In a further aspect of the present
      CPC            F21V 23/003 (2013.01 ) ; H05B 47/155         invention there is provided a light with the built - in capability
                   ( 2020.01 ) ; H05B 47/18 ( 2020.01 ) ; H05B    to generate a range of customizable cinematic special light
                                              47/19 (2020.01 )                                   (Continued )
                                  120




                        104                         100                                  106



                                                    Effect simulator


                                                                                               102
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         ?028   1f; 6        300;                 302                   30348               02


                             Analogue
                               effect                                    Power
                             simulator         distribution        distribution
                                                     hub                   AC
                          ( ' Flickerbox ' )
                                                                                             2-2


                                               3}c
                                                            AC power
                                    Figure 1                generator
                                                                                           ;?- 3




                                                                                           1 2-4




                        20




                 04                                                         fuf ; 6



                                         Effect simulator


                                                                                      02




                                           Figure 2
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                                       Receive
                S1                   simulation
                                     parameters



                $2               Simulate variation
                                  of light over time



                                 Send to light array


                                     Figure 3


                     130




          104                                                    106


                                                                                   LOT
                                    Effect simulator


                                                                       102




                                                                  102-1


                                     Figure 4
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                            202                   204




Brightnes             1



                                       -Time


                                    Figure 5
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                                    Light control system

                                          Fire effect
                            Parameter                       Setting
    800                More info

                      Fire activity
                                                      Low             High
                       More info

                       Fire colour                              2000K
                       More info

                       Peak brightness                            80 %
                       More info

                       Baseline brightness                        40 %
                       More info

                       Camera frequency                          60HZ



                      Colour Swing Blue                Monochrome




                                        Figure 6
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                                                       pmnagrsui egnsa 00.20.40.60.811.21.41.61.822.22.42.62.8   Seconds   7Figure




 .



                                              M




                                                       0
100   90 80 70 09 50 40 30 20
                             % Brightness
                                    ??
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                                                    US 10,845,044 B2
                               1                                                                     2
        LIGHTING SYSTEM AND CONTROL                                  Preferably, the start/ stop " triggering ” of the effects can be
                  THEREOF                                         controlled locally via a simple user interface on the light
                                                                  itself, remotely via WiFi, Bluetooth , Zigbee or wireless
                  RELATED APPLICATIONS                            DMX from a smart phone or tablet, or from a wired 3.5 mm
                                                                5 minijack remote trigger, or a wired DMX trigger.
   This application claims the benefit of priority of U.S.           Preferably, the parameters of the effects can be controlled
Provisional Patent Application No. 62 /319,809 filed on Apr. remotely via WiFi, Bluetooth , Zigbee or wireless DMX from
8 , 2016 , and United Kingdom Patent Application No. a smart phone or tablet.
1606907.2 filed on Apr. 20 , 2016. The contents of the above
applications are incorporated herein by reference in their 10 ViaPreferably
                                                                       a  serial
                                                                                 , the parameters of the effects can be controlled
                                                                                 communications interface (eg . RS232 , USB or
entirety .
                                                                  DMX ) from a PC running custom lighting control software .
      FIELD AND BACKGROUND OF INVENTION                              Preferably, the light source containing in built special
                                                                  effects is in the form of an LED lighting fixture. Alterna
   This invention relates to a lighting system , and the control tively it is in the form of or ' hot ' light incandescent fixture .
of a lighting system , and the simulation of lighting special 15 Preferably, multiple lights may be connected together via
effects , and in particular to a lighting system for videogra     wired DMX , or via WiFi, Bluetooth , Zigbee or wireless
phy, broadcasting and cinematography.                             DMX to produce a synchronised large area special effect.
   In the film , broadcast and TV industry a lighting control        Preferably, when multiple lights are connected together to
ler called a ' flicker box ' which is independent of a lighting produce a synchronized large area special effect, the inter
device, is used to produce flickering light effects to mimic 20 relationship of those connected lights is customizable so as
flickering light for example from a fire place , candle, elec         to allow all of the connected devices to fire at the same time
trical spark or lightning for on set television /broadcast        if desired , or, to enable a staggered effect to take place over
production use .                                                  an extended time duration and with customizable power
   The flicker effect provided by these devices is typically intensity, in order to create the effect that a static object is
created using the analogue circuitry modulators contained 25 moving as the lights “ chase ” around a scene .
within the ' flicker box ' , controlled manually by dials and        Preferably the method further comprises receiving said at
levers. Use of a flicker box is typically a complex , costly and least one simulation parameter for characterising a lighting
time consuming process that requires the setup, connection effect.
and control of multiple pieces of hardware typically includ          So as to recreate realistic effects , preferably the at least
ing external Digital Multiplex (DMX ) and power distribu- 30 one simulation parameter for characterising a lighting effect
tion devices, as well as typically requiring a physical wired is random ; preferably the at least one simulation parameter
connection to the ' hot ' light source desired to be controlled . for characterising a lighting effect is random within pre
   Typically such ' flicker boxes ' require specialist knowl defined boundaries.
edge and understanding to operate and remain inaccessible            Preferably, the random simulation parameter is deter
or ' out of reach ' to lower budget television productions . 35 mined in dependence on one or more user - selectable simu
   Furthermore, many “ flicker boxes ' are incompatible with lation parameters. Preferably, the random simulation param
LED light sources , and such systems require the use of ' hot ' eter is in a range determined in dependence on one or more
incandescent light sources which are energy inefficient and user - selectable simulation parameters.
also pose health and safety risks to those working on set ,             Preferably , the simulation parameter is a colour or colour
typically therefore requiring qualified lighting gaffers and 40 temperature. Preferably, the colour or colour temperature
operators.                                                            varies in dependence on a brightness lighting value .
  An improved solution is desired .                                      Preferably the simulation parameter is related to one or
                                                                      more of: a rate of increase of brightness; a rate of decrease
             SUMMARY OF THE INVENTION                                 ofbrightness; a rate of change of colour ; a brightness; a local
                                                                 45   maximal brightness; a local minimal brightness; a brightness
  According to one aspect of the invention, there is pro              fluctuation period ; and a colour fluctuation period.
vided a method for controlling a lighting device to produce              Preferably, the method further comprises receiving a user
user customisable lighting effect, the method comprising:             input of one or more user - selectable simulation parameters
calculating a time varying lighting value based on at least           and adapting the simulation in dependence on the one or
one simulation parameter; and outputting said time varying 50         more user - selectable simulation parameters .
lighting value thereby to simulate a lighting effect.                    Preferably, the simulation parameter comprises at least
   According to another aspect of the invention there is              one of: a maximum brightness; a minimum brightness; a
provided a controller for controlling a lighting device to            colour ; a fluctuation period; and a trigger.
produce a lighting effect, the controller comprising: a cal              Preferably, the simulation parameter comprises a camera
culating device adapted to calculate a time varying lighting 55       recording frequency, frame rate , or shutter speed .
value based on at least one simulation parameter ; and an                Preferably, the system includes rolling shutter compensa
output adapted to control a lighting device according to the          tion enabling the minimum light pulse width to be adjusted
determined variation of lighting over time .                          to suit the shutter speed or frame rate of the user's camera
  In a further aspect of the present invention there is               in order to prevent ‘ strobing'due to the light effect being out
provided a light with the built - in capability to generate a 60      of phase / sync with the frame rate of the camera, ensuring
range of customizable cinematic special lighting effects, by          that each frame captured by the camera is fully illuminated .
modulating the speed , duration , power/brightness, and / or             Preferably the method further comprises receiving a
colour temperature of the light output.                               recording frequency, frame rate, or shutter speed of a camera
   Preferably, the parameters of the effects including but not and calculating said time varying lighting value based on
limited to speed , duration , power / brightness and colour 65 said recording frequency, frame rate or shutter speed . Pref
temperature can be controlled locally via a simple user erably, wherein the time varying lighting value is calculated
interface on the light itself.                                   so as to vary at a slower rate than said camera recording
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                               3                                                                    4
frequency, frame rate, or shutter speed . More preferably produce a lighting effect, the controller comprising: a cal
wherein the minimum pulse width of said time varying culating device adapted to calculate a time varying lighting
lighting value is longer than said recording frequency, frame value based on at least one simulation parameter; and an
rate or shutter speed .                                               output adapted to control a lighting device according to the
    Preferably, a light source can be designated as a ‘ master ' , 5 determined variation of lighting over time .
and have connected ‘ slave ' light sources which fire in                 Preferably, the controller further comprises a random
synchronization with the ‘ master ' , or in a customizable number source adapted to provide a random number for
sequence, with regard duration, power and / or colour tem producing a random simulation parameter for characterising
perature.
    Preferably , the “ slave ' light sources are connected to the 10 a lighting   effect.
‘ master ' light source via wired DMX , wireless DMX , wifi, of lighting ,devices
                                                                         Preferably   the controller is adapted to control a plurality
                                                                                              in dependence on the time varying
Bluetooth , or RS232 sync cable .                                     lighting  value .
    Preferably, the light contained in built special effects, can        Preferably, the controller comprises a wireless communi
be powered both from mains power, and / or via its own
internal battery power source, providing greater flexibility 15 one   cationor interface  adapted for wireless communication with
                                                                               more lighting devices .
and portability for location shooting.
    Preferably, the light source is capable of producing cus             Preferably, the controller comprises an input interface
tomisable effects including , but not limited to : Fire, Light adapted to receive a user input.
ning , Police light, TV simulation , Neon Flickering sign ,              Preferably, the input interface comprises at least one of: a
Muzzle ( gunshot ), Welding, Spark /Short Circuit, Scan (e.g. 20 wireless communication interface; a dial ; a slider ; a display
fingerprint scanner ), Papparrazi flashes , Propeller, ( Nuclear ) and buttons; and a touch screen .
Explosion and Wormhole.                                                  Preferably, the controller further comprises a converter
    Preferably, the simulation iterates through repeated cycles adapted to convert brightness and / or colour data from the
of receiving at least one random simulation parameter and simulator into lighting signals for output by the output.
simulating the lighting effect.                                    25    According to another aspect of the invention there is
    Preferably, the lighting effect is designed to mimic at least provided a controller adapted to perform a method as
one or more of: fire flickering; police light; television; described herein .
lightning flashing; electrical sparking ; and fireworks .                According to another aspect of the invention there is
    Preferably, the lighting value comprises brightness and / or provided a lighting system comprising a controller as
colour data .                                                      30 described herein and at least one lighting device .
    Preferably, the method further comprises converting                  Preferably, said controller and said lighting device are
brightness and / or colour data into lighting signals and out integrated in a combined unit.
putting the lighting signal data .                                       Preferably, the lighting system further comprises a further
    Preferably, the method further comprises controlling one lighting device separate from said controller.
or more light in dependence on the output. Preferably, the 35 Preferably, the lighting device is a lighting device for
controlling comprises changing the brightness and /or colour videography, broadcast, cinematography, studio filming and /
of the light.                                                         or location filming.
    Preferably , the method further comprises receiving a                The invention extends to any novel aspects or features
definition of a trigger event; said trigger event initiating said described and /or illustrated herein .
output of the time varying lighting value thereby to simulate 40 Further features of the invention are characterised by the
a lighting effect.                                                    other independent and dependent claims
    Preferably, the method further comprises detecting an                Any feature in one aspect of the invention may be applied
occurrence of the trigger event and outputting said time to other aspects of the invention, in any appropriate com
varying lighting value thereby to simulate a lighting effect. bination . In particular, method aspects may be applied to
  Preferably, the method further comprises storing the cal- 45 apparatus aspects , and vice versa .
culated lighting value .                                             Furthermore, features implemented in hardware may be
   Preferably, the controlling is for a lighting system for implemented in software, and vice versa . Any reference to
videography, broadcast, cinematography, studio filming and / software and hardware features herein should be construed
or location filming.                                              accordingly .
   Preferably, the method further comprises controlling a 50 Any apparatus feature as described herein may also be
plurality of lights in dependence on the output. Preferably, provided as a method feature , and vice versa . As used herein ,
the said plurality of lights output different lighting values so means plus function features may be expressed alternatively
as to simulate a lighting effect. Preferably , the method in terms of their corresponding structure, such as a suitably
further comprises the output of said plurality of lights is programmed processor and associated memory.
offset in time. Preferably , the output of said plurality of 55 It should also be appreciated that particular combinations
lights overlap with one - another so as to simulate a moving of the various features described and defined in any aspects
light source .                                                    of the invention can be implemented and / or supplied and / or
   Preferably, one light is a master light and the others of said used independently.
plurality of lights are slaves.                                      The invention also provides a computer program and a
  According to another aspect of the invention there is 60 computer program product comprising software code
provided a computing device adapted to perform a method adapted , when executed on a data processing apparatus, to
as described herein .                                         perform any of the methods described herein , including any
   According to another aspect of the invention there is or all of their component steps.
provided a controller for a lighting device comprising the      The invention also provides a computer program and a
computing device as described herein .                     65 computer program product comprising software code which ,
   According to another aspect of the invention there is when executed on a data processing apparatus, comprises
provided a controller for controlling a lighting device to           any of the apparatus features described herein .
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                              5                                                                    6
   The invention also provides a computer program and a itself for user input of simulation parameters to control the
computer program product having an operating system lighting effect. In another variant the lamp device 120 is
which supports a computer program for carrying out any of adapted for communication with a wireless user device and
the methods described herein and / or for embodying any of receives user- selectable simulation parameters to control the
the apparatus features described herein .                       5 lighting effect from the user device . The user device may for
   The invention also provides a computer readable medium example be a tablet or smart phone with suitable hardware /
having stored thereon the computer program as aforesaid .          software (e.g. an app ) for receiving user input of simulation
   The invention also provides a signal carrying the com           parameters and transmitting that data to the lamp device 120 .
puter program as aforesaid , and a method of transmitting The system of FIG . 2 is simpler to set up and less expensive
such a signal.                                                  10 than that of FIG . 1 as there are fewer pieces of hardware .
   The invention extends to methods and / or apparatus sub Furthermore the energy inefficiency of ' hot light systems
stantially as herein described with reference to the accom         (i.e. a 1K hot light consumes 1000 watt/hour, vs 38 watt per
panying drawings.                                                  hour of current generation LED system) , Systems such as
                                                                   that described in FIG . 1 using a flicker box and typically ‘ hot
        BRIEF DESCRIPTION OF THE SEVERAL                        15 lights ' also suffer from the significant disadvantage that a hot
                 VIEWS OF THE DRAWINGS                             light is a fixed colour of light, either daylight 5600K or most
                                                                   commonly tungsten 3200K . When recreating an effect such
   The invention will now be described by way of example, a lightning this effect would appear at the blue end of the
with references to the accompanying drawings in which :            colour spectrum i.e. 7000K + so utilising a 3200K light for
   FIG . 1 is a schematic diagram of a ' flickerbox ' lighting 20 this would require an operator to climb up a ladder to apply
system ;                                                           one or more CTB ( Colour temperature blue) filter ( s) to the
   FIG . 2 is a schematic diagram of a further lighting system ; light in order to achieve the desired colour temperature .
   FIG . 3 is a flow diagram of a method for adjusting a              Having the ability to control the special FX from the light
lighting device ;                                                   source, which in itself is a bi - colour LED Fixture also
   FIG . 4 is a schematic diagram of a further lighting system ; 25 entirely eliminates that aspect of the process, the user can
  FIG . 5 shows a time/brightness plot for a system of linked simply adjust the colour temperature from the back of the
lights;                                                         unit, with a visible numeric display of that number elimi
  FIG . 6 is a graphic user interface for user input of nating significant time from the process .
simulation parameters ; and                                        This is also a significant limiting factor in the creation of
  FIG . 7 is a graph of light brightness over time .         30 effects such as fire which typically burn blue on hotter peaks.
                                                                It would be possible using an LED light source containing
    DESCRIPTION OF SPECIFIC EMBODIMENTS                         in built special effects to reproduce both the warm " orange "
                    OF THE INVENTION                                light output near the tungsten end of the ale , whilst also
                                                                    adding a “ colour swing blue” on the peaks from the same
  In the present description the term " camera ' may be 35 light source , something that would not be possible using a
understood to mean a camera ( such as a digital camera , or legacy system .
' film ' camera ) operable to record moving images . The           Examples of user defined parameters that the light con
lighting system may therefore be for a lighting system for taining in built special effects can customize in simulating a
videography, broadcasting, cinematography, studio filming lighting effect are now described in more detail:
and / or location filming.                                      40 Brightness: The peak luminance of the effect from 1 % to
    FIG . 1 shows a schematic diagram of a ' flickerbox '             100 % of the lamp's available luminance output.
lighting control system . The system comprises an analogue         Colour : For multicolour effects this sets the range of
effect simulator, 300 , a DMX distribution hub 302 , an AC           colours used over the spectrum of red , green and blue .
power generator 306 , an AC power distribution module 302            For single colour effects it sets the colour temperature
and a plurality of incandescent lights 102. The analogue 45          of the light.
effect simulator 300 simulates a lighting effect such as fire ,    Trigger: To start the effect running. For example, a manual
or electrical sparking based on various parameters . The             trigger may be selected for manually triggering the start
analogue effect simulator 300 produces data 106 such as            of a lightning burst, TV screen , or other effect.
brightness parameters that vary over time for producing the      Frequency: typically from 0.5 Hz to 50 Hz . This sets an
desired lighting effect. The data 106 is used to modulate the 50   average period between light peaks — e.g . a roaring fire
light 102 such that the desired lighting effect is produced.       may have a higher frequency than a single candle
The user has very limited ability to alter many of the             flame.
parameters to adapt the lighting effect as desired .             Depth : typically from 0 % to 90 % . This sets a base level
   FIG . 2 schematically shows an example where a lighting         of illumination of the effect. For example a fire may
effect simulator 100 and the light 102 are integrated in a 55             have a base level of 50 % illumination superimposed on
single studio lamp device 120. In one example, the light 102              a level varying from 50 % to 100 % to simulate flick
is an array of LEDs , preferably of differing colours . This              ering flames.
arrangement does not require the DMX distribution hub 302 ,            Rolling Shutter Compensation: Film and TV cameras
power elements 304 , 306 as described above , and is more                 typically operate at frequencies between 24 Hz and 60
flexible in producing effects as will be described in more 60             Hz . In order to provide consistent illumination during
detail below, A microcontroller or other computing unit is                each camera frame, short time -period ( e.g. strobo
integrated in the lamp device 120 for performing calcula                  scopic ) lighting effects should have a minimum pulse
tions . A control panel is provided at a back panel of the lamp           width which lasts at least one camera frame period.
device 120. The control panel can include for example                     This parameter can be adjusted to suit the camera and
buttons, rotary knobs, sliders, and /or a display /input panel 65         frame rate .
for user input of parameters for simulating an effect. In a            ‘ Colour Swing Blue ' simulates the effect of flame going
variant a simple digital interface is provided on the light               up the chimney, “peaks' within the fire effect can be
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                               7                                                                       8
     switched to transition between yellow and blue , to       tions , or a ' propeller simulating a light source being
     match the colour of a flame, creating a more dynamic      obscured by a rotating propeller. The use of a single con
     and 3D fire effect. The brighter the “ spark ’ the more   troller 130 may be used to control all of the lights 102 so as
     blue the light output is . The colour of the output is    to ensure an appropriate delay (or absence of delay) .
     therefore dependent on the brightness of the output (or 5 FIG . 6 shows an example of a graphic user interface 800
     vice versa).                                              for user input of simulation parameters. In the illustrated
  Further examples of lighting effects are for example to example the lighting effect to be simulated is a fire effect.
mimic television screen flicker, cinema illumination , illumi The user can select a fire activity (with a slider positioned
nation in a vehicle passing through a tunnel, or any situation from “ low to high ) to set a frequency parameter as
where the lighting varies over time in a characteristic 10 described above; a fire colour ; a peak brightness; a baseline
manner. A simulation can be defined that represents the brightness to set a depth parameter as described above; and
characteristics of the lighting effect, and suitable random              a camera frequency. A wide range of further parameters can
parameters can be used to introduce a realistic variance in              be provided for user input, for example if the fire activity ,
the lighting effect.                                                     brightness and / or colour is to change over time (to mimic a
    In a variant the simulator operates with pre -defined           15 fire dying down and reducing to embers or to mimic addition
parameters and random numbers, without further user input              of fuel to a fire ). The user may also be provided with an
of parameters. This can still provide a realistic lighting             option of superimposing different types of lighting effects,
effect, albeit with less adaptation to the user's preferences.         for example to mimic candlelight during a lightning storm .
    FIG . 3 illustrates a simple example of a method for                  In one example, the rolling shutter compensation controls
simulating a lighting effect. In a first step S1 simulation         20 a minimum light pulse to match the shutter speed or frame
parameters are received , such as random parameters and / or           rate of the user's camera ( camera frequency ) to ensure even
user- selectable parameters. Where a random parameter is               illumination across the frame and eliminate possible strob
algorithmically generated it is only pseudo - random , but for         ing . Therefore, the duration of the light pulse is longer than
the purposes of the simulation a pseudo - random parameter             one period of the camera's recording frequency, or in other
is sufficiently random for realistic simulation and is hence        25 words, the lighting value varies at a lower frequency than the
considered to be equivalent to a truly random parameter. In            frequency of the camera .
a second step S2 a simulation is performed based on a                     The lighting effect simulator 100 typically provides data
simulation model and the received parameters. The nature of            106 in the form of brightness and / or colour values that vary
the simulation model can vary greatly, depending on the                over time . In order to cause the light 102 to produce the
lighting effect that is desired and the sophistication of the       30 desired effect a lighting data converter may convert the data
desired simulation . The simulation calculates how the light           106 from the lighting effect simulator 100 into a suitable
ing changes over time in order to produce the desired                  signal for a particular light 102. For example for a light
lighting effect. Following simulation in a third step S3 the           emitting diode ( LED ) array lighting the data conversion
lighting information determined by the simulation is output,           occurs at an LED lamp control logic that produces and
for example to a lighting device , in order to produce the          35 supplies a separate pulse -width -modulation output for each
desired lighting effect.                                               LED colour to an LED drive circuit . A lighting data con
    FIG . 4 schematically shows an example showing a master            verter may be provided separately from the lighting effect
light source 102 built into a lighting control unit 130 and a          simulator 100 and the light 102 or it may be integrated with
“ slave ' light source 102-1 separate from the lighting control          one or the other or both .
unit . The lighting effect simulator 100 creates data 106           40    The light 102 in one example comprises an array of
characterising a lighting effect and controls the master light         different types of LEDs , preferably red , green , blue and
102 as described above . The data 106 is transmitted to the            white LEDs , or a bi colour fixture comprising warm typi
slave light 102-1 via ( for example) a serial communication            cally 2800K LEDs and ' cool ' 7000K LEDs which blend
interface ( e.g. RS232 , USB or DMX ) or by wireless trans             together to create a range of colour from 3200-6300K . The
mission (e.g. Wi- Fi® , Bluetooth® Zigbee® , or via a mobile        45 array may be a panel, flood light, spot light, a cluster or any
communication network utilising protocols such as GSM                  other arrangement of LEDs . This provides the ability for the
(Groupe Special Mobile) 3GPP ( 3rd Generation Partner                  lighting to produce light of any visible colour by varying the
ship ), or 4G LTE (Long term evolution ) ). The additional             relative intensities of the different LEDs . The lighting may
“ slave ' light source 102-1 thereby allows the production of          alternatively be a filament ( incandescent ), halogen or other
a lighting effect with more than one light device but without       50 type of lighting.
duplication of controllers 130. Such additional light sources             The simulation may be performed on the fly, with lighting
can for example increase the area of illumination or increase          data values output from the simulator 100 to the light 102 in
the power of the lighting effect.                                      near-real time , or the simulation may be performed in
    The use of multiple lights 102 affords additional options          advance and the lighting data values output for storage and
for producing advanced effects. FIG . 5 shows a time/bright-        55 later use to enable quick reproduction on set or location .
ness plot of a ' chase ' effect. In this example, three lights            The lighting control system can reduce the number of
produce outputs 200 , 202 and 204 separated in time . In such          devices required to provide lighting effects, especially where
a way , an effect of a light source ( such as a passing car ) can      the lighting effect simulator is integrated in a light. This can
be replicated. The relative timing of the light sources can be         significantly reduce equipment costs and time required to set
adjusted depending on the relative location of the sources ,        60 up equipment. The system is also more portable allowing
and the speed of the effect to be replicated . It should be noted      power from its on internal power source or battery instead of
that the ' fade up ' and ' fade down ' portions of each light   requiring an external power generator or mains powered
output 200 , 202 , 204 overlap with one - another to more       solution . The lighting control system can be used for studio
accurately replicate the effect of a moving object, as opposed  and location filming lighting systems , and more generally
to a element jumping from one location to another.           65 for videography, broadcast and / or cinematography.
    Related effects utilising similar timing controls are be       A non - exhaustive list of example effects that may be
‘ paparazzi ' of multiple flashes coming from different loca    produced by the system are as follows:
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                                9                                                               10
  StrobeThe strobe range in one example is from 1 hz up each spark has a different speed , duration and peak
     to 4 hz . The last used strobe parameters are stored in simulating the look of a real flame.
     non - volatile memory (which applies to any effect             Generating the light output with the simulation provides
     described herein ). A user may rotate a knob on the a greater level of user adjustment and control than that
     device to adjust the ' duty cycle ' ( flash duration ) to 5 produced by simply sampling the intensity of a real flame
     eliminate issues with rolling shutter cameras.               and replaying it at different speeds .
  Lightning — this effect simulates lightning in a random           An example sequence of instructions for the simulation is
     manner, but a user may control the speed at which the as follows:
     lighting bursts re - occur. This effect is most realistic if   At the end of a spark up and down period:
     the brightness is set to 100 % and colour temperature is 10 Reset duration for next spark to between 2.5 s to 5 s
     set at 6000K . A user may rotate a knob on the device          Generate new brightness targets for the next spark
     to adjust the 'duty cycle ' ( flash duration ) to eliminate       between 12.5 % and 100% of current maximum bright
     issues with rolling shutter cameras. The duration of the          ness setting
     lightning flashes in one example is 20 ms . The lightning      Offset the random brightness targets by the requested
     strikes in one example come in bursts of between 2 and 15         brightness floor value
     8 random length pulses .                                       Set the new peak brightness target for the new spark
  Throb — Throb is a regular smoothly pulsing light                 Ensure the new targets are greater than the existing faded
  Weld — this effect replicates a welding arc .                        brightness value to prevent downward jumps
  Colour cycle — This is a regular smoothly pulsing light           Set the fade direction to UP
     which fades between the tungsten and blue LEDs 20 Start new animation frame:
  Fire — this effect replicates a fire with ‘ dancing flames' as    Calculate brightness fade step sizes :
     is described in more detail below .                               Fade up fast, progressively larger fade step sizes
  PoliceThis effect is an emulation of an emergency                    Change fade direction at peak
     services light, and may be most realistic in blue light.          Fade down slow, progressively smaller fade step sizes
  Television — This effect is an emulation of someone 25 Set the frame rate for the new spark to a random value
     watching TV .                                                     prevent the curtailment of a long fade by a new short
  It should be appreciated that due to the nature of the light           pulse : if the faded brightness is still >25 % of max
102 , the effects may be customised by a user, for example,      then don't allow new FramePeriod to be less than
the frequency / speed , peak /minimum brightness or colour/      old .
colour temperature may be dynamically changed , and /or 30 FIG . 7 shows an example of the brightness varying over
made to vary over time in a customised manner . Such user time produced according to a simulation as described above .
input simulation parameters may be stored in memory 220 Two peaks can be seen , one reaching 100 % intensity and the
and recalled from the memory 220 a later time. The effects          other reaching 91 % intensity. The first peak fades up from
may be triggered on cue ( for example from a director) by           10% to 100 % in 0.85 seconds, and back down to 56 % in 0.75
sending a signal over a wired remote trigger or wireless 35 seconds . The second peak fades up from 56 % to 91 % in 0.33
device .                                                          seconds , and back down to 60% in 1.07 seconds. The fade
  It should also be appreciated that multiple effects may be up starts shallower and becomes steeper as it progresses . The
emulated simultaneously, for example, fire and lightning fade down starts steep and becomes shallower as it pro
may be present simultaneously using a single lighting unit . gresses . A toggle switch is also shown which toggles
  An example of a simulation for producing a fire effect is 40 between Colour Swing Blue ’ and ‘Monochrome '. Colour
now described in more detail.                                     Swing Blue represents modifying the colour of peaks in
  Fire is simulated as a series of ‘ sparks '. Each spark has the brightness so as to replicate the increased temperature of
following random parameters:                                      sparks in a fire, Monochrome may be used when ( for
  Interval: New sparks are generated at an interval which        example ) filming in black and white, or when altering colour
     varies randomly between a defined maximum and 45 of the effect may have deleterious effects on other elements
      minimum interval.                                          of the scene ( for example, rendering text difficult to read ).
   Peak : The peak luminance of each spark varies randomly          An example of a simulation for producing a lightning
      between a defined minimum and maximum .                    effect is now described in more detail. Lightning is simu
   Ramp -up time : The luminance of each spark ramps up to lated as a sequence of ' bursts ' or groups of flashes. The
      the peak at a randomly generated rate .                 50 number of flashes in each burst, the delay between bursts ,
   Fade - down time : The fade from the peak is linked to the the delay between each flash within the burst , and the
      ramp -up time but is much slower - simulating the amplitude of each flash are all set randomly within certain
      gradual decline in luminance of a burning ember.           boundaries. The minimum ‘ on’time period of each flash can
   If the interval is short with respect to the ramp -up and be set by the user to ensure full illumination of the camera
fade - down time , then sparks can overlap in time — in which 55 frame. The lamp can also be set into a mode where a burst
case the brightest spark determines the lamp luminance .         of flashes is triggered by the push of a button . In this way the
   The lighting effect simulator typically cycles round a loop effect can be triggered on demand by the user .
calculating new lamp brightness and colour values . Alter           An example sequence of instructions for the simulation of
natively the calculation can be triggered by an interrupt lightning, with a series of bursts of flashes, is as follows:
generated by a timer. The calculation is typically performed 60 At the end of a burst of flashes recalculate the parameters
every 250 us .                                                      for the next burst:
  The duration of each spark can be controlled by choosing            Reset the number of flashes in a burst to a random number
whether or not to perform a new brightness calculation                   between 2 and 10
based on the value of a counter which is decremented every            Reset the period to next burst to a random number
time an interrupt occurs . When the counter reaches zero it is 65       between 2.5 and 5 s .
either reset to its previous start value or, for a new spark , a      Calculate parameters for each flash in a burst of flashes:
new count start value is randomly generated . In this way             Randomly modulate brightness of each flash slightly
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                            11                                                                    12
  Reset the time to next flash to a random number between             maximal ( peak ) brightness; a local minimal brightness; a
     8 ms and 220 ms                                                brightness fluctuation period; and a colour fluctuation time
  Reset the ' on ' flash duration to a random number between        period.
    8 ms and 120 ms                                                    5. The method according to claim 1 , wherein the lighting
      ensure
         flashes
                a minimum     off - period is maintained between  5 effect  comprises a short time -period (e.g. stroboscopic )
   For the final flash set the duration to a random number
                                                                    lighting   effect with a user adjustable minimum pulse width .
      between 10 ms and 113 ms                                         6. The     method according to claim 1 , wherein the user
   The lighting system , lighting effect simulator, lighting indicative of simulation
                                                                    customisable
                                                                                      a  group
                                                                                                   parameter comprises a parameter
                                                                                                 consisting  of: a camera recording
controller, lighting device, computing device, and / or com- 10
puter program product may have one or more of the fol frequency                  ; a camera shutter speed ; and a camera frame rate.
                                                                       7. The method according to claim 1 , wherein the lighting
lowing features :
   built - in capability to generate a range of cinematic special police iscardesigned
                                                                    effect                 to mimic at least one of: fire ; lightning;
                                                                                  light; television; a neon flickering sign ; a candle ;
      effects by modulating the colour and brightness of the
      light output.                                              15 muzzle (gunshot ) ; welding; spark / short circuit; a scan (e.g.
   the parameters of the effects can be controlled via a simple fingerprint scanner ); paparazzi flashes; fireworks; flashes
      user interface on the lamp itself.                            ( strobe ); a propeller; a ( nuclear) explosion ; and a wormhole.
   the parameters of the effects can be controlled remotely            8. The method according to claim 1 , wherein the lighting
      via WiFi or DMX from a smart phone or tablet .                value comprises brightness and / or colour data .
   networked with other lights to produce a synchronised 20 9. The method according to claim 1 , further comprising
      large area special effect.                                    converting at least one of brightness and colour data into a
   minimum light pulse width can be adjusted to suit the lighting signal and outputting the lighting signal to the
      shutter speed or frame rate of the user's camera to lighting device.
      ensure even illumination across the frame.                       10. The method according to claim 1 , wherein the con
   Various other modifications will be apparent to those 25 trolling is for a lighting system for videography, broadcast ,
skilled in the art. It will be understood that the present cinematography, studio filming and / or location filming.
invention has been described above purely by way of                    11. The method according to claim 1 , further comprising
example , and modifications of detail can be made within the controlling at least one further lighting device .
scope of the invention . For example, it should be appreciated           12. A system adapted to control at least one lighting
that
may the
     be effect
        separatesimulator
                   from any100light
                               or the102computing  device 130to 30 device to produce a range of different user customisable
                                         , and connectable
lights 102 , by either a wired or wireless connection .             lighting effects, the system comprising:
  The lighting effect simulator 100 may be provided by way             an input interface adapted to receive user input of at least
of a suitably adapted computing device 120 or 130 such as                 one user input simulation parameter to customise a
a PC , tablet or smart phone, with suitable software for user 35 a memory effect
                                                                          lighting       ;
                                                                                    adapted to store said at least one user input
input of simulation parameters. The computing device 120
or 130 may be a suitably adapted light controller device with             simulation parameter, said at least one user input simu
suitable controls for user input of simulation parameters                 lation parameter depending on the lighting effect being
   Reference numerals appearing in the claims are by way of               simulated; and
illustration only and shall have no limiting effect on the 40 an effect simulator adapted to :
scope of the claims .                                                     recall from said memory said at least one stored user
   What is claimed is :                                                      input simulation parameter ; and
   1. A method for controlling a lighting device to produce               calculate a time varying lighting value based on said
a range of different user customisable lighting effects, the                 recalled simulation parameter;
method comprising:                                               45 wherein the effect simulator is adapted to output said cal
   receiving user input of at least one user input simulation culated time varying lighting value to the at least one
      parameter to customise a lighting effect;                     lighting device thereby to simulate a lighting effect.
   storing in memory said at least one user input simulation           13. The system according to claim 12 , wherein the system
      parameter, said at least one user input simulation is adapted to control at least one further lighting device .
      parameter depending on the lighting effect being simu- 50 14. The system according to claim 12 , further comprising
      lated ;                                                       an input interface and wherein the input interface comprises
   recalling from said memory said at least one stored user at least one of: a wireless communication interface; a dial;
      input simulation parameter;                                   a slider ; a display and buttons.
   calculating, using an effect simulator, a time varying              15. The system according to claim 12 , wherein said at
      lighting value based on said recalled simulation param- 55 least one lighting device is integrated in a combined unit .
      eter; and                                                        16. The system according to claim 12 , wherein the at least
outputting to said lighting device said time varying lighting one lighting device comprises a lighting device for videog
value thereby to simulate the lighting effect.                      raphy , broadcast, cinematography, studio filming and / or
   2. The method according to claim 1 , wherein said user location filming.
customisable simulation parameter is stored locally.             60    17. The system according to claim 12 , wherein the at least
   3. The method according to claim 1 , wherein the simu one lighting device comprises at least one light emitting
lation parameter comprises a colour or colour temperature. diode .
   4. The method according to claim 1 , wherein the simu               18. A lighting device according to claim 17 , wherein the
lation parameter is related to at least one of: an effect at least one lighting device is used for videography, broad
frequency; an effect speed; a colour; a colour temperature ; a 65 cast, cinematography, studio filming and /or location filming.
trigger; a rate of increase of brightness; a rate of decrease of       19. A computer program product comprising software
brightness; a rate of change of colour ; a brightness; a local code for controlling a lighting device to produce a range of
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different user customisable lighting effects the computer
program product is adapted to perform , when executed, the
steps of:
  receiving user input of at least one user input simulation
    parameter to customise a lighting effect;                  5
  storing in memory said at least one user input simulation
    parameter, said at least one user input simulation
    parameter depending on the lighting effect being simu
     lated;
  recalling from said memory said at least one stored user 10
     input simulation parameter;
  calculating, using an effect simulator, a time varying
     lighting value based on said recalled simulation param
    eter; and
  outputting to said lighting device said time varying light- 15
     ing value thereby to simulate a lighting effect.
